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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 16, 2021
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                        )
     In re:                                             )      Chapter 11
                                                        )
     HIGHLAND CAPITAL MANAGEMENT, L.P.                  )      Case No. 19-34054 (SGJ11)
                                                        )
              Debtors.                                  )      (Jointly Administered)
                                                        )
                                                        )
                                                        )
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                 )
                                                        )
              Plaintiff,                                )
                                                        )
              v.                                        )      Adv. Pro. No. 21-03005 (SGJ11)
                                                        )
     NEXPOINT ADVISORS, L.P.,                           )
                                                        )
              Defendant.                                )
                                                        )

                        ORDER GRANTING K&L GATES LLP’S MOTION
                   TO WITHDRAW AS COUNSEL TO NEXPOINT ADVISORS, L.P.
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        Having considered K&L Gates LLP’s Motion to Withdraw as Counsel to NexPoint

 Advisors, L.P. (the “Motion”), 1 the Court finds that good cause exists to grant the Motion, as set

 forth herein. Accordingly, it is HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       KLG is permitted to withdraw as counsel to NexPoint Advisors, L.P. in the

 above-captioned AP.

        3.       The Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation of this Order.

                                   # # # END OF ORDER # # #

 Submitted by:

 K&L GATES LLP

 /s/ A. Lee Hogewood, III
 A. Lee Hogewood, III (pro hac vice)
 4350 Lassiter at North Hills Ave., Suite 300
 Raleigh, NC 27609
 Telephone: (919) 743-7306
 E-mail: Lee.hogewood@klgates.com




 1
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
 such terms in the Motion.



                                                   -2-
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03005-sgj
NexPoint Advisors, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Mar 16, 2021                                               Form ID: pdf001                                                            Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 18, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996
dft                    + NexPoint Advisors, L.P., K&L Gates LLP, c/o Stephen G. Topetzes, 1600 K Street, NW, Washington, DC 20006-2806

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 18, 2021                                            Signature:           /s/Joseph Speetjens
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District/off: 0539-3                                             User: mmathews                                                         Page 2 of 2
Date Rcvd: Mar 16, 2021                                          Form ID: pdf001                                                       Total Noticed: 5

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 16, 2021 at the address(es) listed
below:
Name                            Email Address
Julian Preston Vasek
                                on behalf of Defendant NexPoint Advisors L.P. jvasek@munsch.com

Zachery Z. Annable
                                on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 2
